       Case 1:25-cv-00532-TNM          Document 39       Filed 03/25/25     Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


THE ASSOCIATED PRESS,

                      Plaintiff,

v.                                                   Case No. 25-cv-532-TNM

TAYLOR BUDOWICH, et al.,

                      Defendants.


                                    NOTICE OF JOINDER

       Movants Jean Becker, Rex Granum, Bobbie Kilberg, Dale Leibach, Alixe Mattingly, and

Mike McCurry seek to join the Brief of Amici Curiae State Democracy Defenders Fund

(“SDDF”) and Former Public Officials (Dkt. 36) in support of the Associated Press’s Amended

Motion for a Preliminary Injunction (Dkt. 27).

       Movants all served as press secretaries for the White House or the East Wing, or

otherwise held senior communications positions in prior presidential administrations. More

specifically, Movants’ experiences include:

       ●      Jean Becker served as Deputy Press Secretary for First Lady
              Barbara Bush and as Chief of Staff for former President George
              H.W. Bush from 1994 until his death in 2018.

       ●      Rex Granum served as Deputy White House Press Secretary for
              President Jimmy Carter.

       ●      Bobbie Kilberg served as Deputy Assistant to the President for
              Public Liaison and Director of the White House Office of
              Intergovernmental Affairs for President George H.W. Bush. She
              previously served as a White House Fellow on the staff of
              President Richard Nixon’s Domestic Policy Council and Associate
              White House Counsel to President Gerald Ford.

       ●      Dale Leibach served as an Assistant White House Press Secretary
              for President Jimmy Carter.


                                                 1
       Case 1:25-cv-00532-TNM            Document 39        Filed 03/25/25       Page 2 of 4




       ●       Alixe Mattingly served as Deputy White House Press Secretary for
               Presidents Ronald Reagan and George H.W. Bush.

       ●       Mike McCurry served as White House Press Secretary for
               President William J. Clinton.

       In these roles, several Movants routinely interacted with the White House press pool and

press corps generally and with Associated Press (“AP”) reporters and photographers specifically.

They have witnessed the different opportunities provided to journalists to gather the news at the

White House and at events the President attends outside of the White House. Drawing on these

experiences, Movants believe that the White House should not be excluding the AP from

covering presidential events on the basis of the AP’s editorial judgment.

       Rule 20 of the Federal Rules of Civil Procedure, which allows for permissive joinder of

parties, therefore, supports permitting Movants to join SDDF and the Former Public Officials as

friends-of-the-court in this matter. Rule 20 is “to be liberally construed in the interest of

convenience and judicial economy . . . in a manner that will secure the just, speedy, and

inexpensive determination of the action.” Alexander v. Edgewood Mgmt. Corp., 321 F.R.D. 460,

462 (D.D.C. 2017). Here, Movants share with SDDF and the Former Public Officials the belief

that “the government must not restrain a free press nor retaliate against members of the press

because of what they report or their perceived viewpoint.” See Dkt. 36 at 3. Movants and amici

likewise share the belief that “the access restrictions imposed on the AP by the White House

violate the Constitution and are profoundly antithetical to the public interest.” Id. at 14.

       In the interest of convenience and judicial economy, therefore, Movants hereby request

permission to join the Brief of Amici Curiae SDDF and Former Public Officials (Dkt. 36) and

urge that AP’s amended motion for a preliminary injunction be granted.




                                                  2
 Case 1:25-cv-00532-TNM    Document 39     Filed 03/25/25   Page 3 of 4




 Dated: March 25, 2025
Respectfully submitted,

 Respectfully Submitted,

                                     _____________________________
                                      Norman L. Eisen
                                      STATE DEMOCRACY
                                      DEFENDERS FUND
                                      600 Pennsylvania Avenue SE,
                                      Suite 15180
                                      Washington, DC 20003
                                      Tel: (202) 594-9958
                                      Norman@statedemocracydefenders.org




                                 3
      Case 1:25-cv-00532-TNM     Document 39     Filed 03/25/25   Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that on March 25, 2025, I caused this document to be electronically

filed with the Clerk of Court using this Court’s CM/ECF system, which will send a

notice of docketing activity to all parties who are registered through CM/ECF.




                                      _____________________________
                                      Norman L. Eisen




                                         4
